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        In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 18-1253V
                                      Filed: August 28, 2019
                                          UNPUBLISHED


 JULIE SCHWINDT,

                         Petitioner,                          Special Processing Unit (SPU);
 v.                                                           Ruling on Entitlement; Concession;
                                                              Table Injury; Influenza (Flu) Vaccine;
 SECRETARY OF HEALTH AND                                      Shoulder Injury Related to Vaccine
 HUMAN SERVICES,                                              Administration (SIRVA)

                        Respondent.


Summer Abel, Law Offices of Leah V. Durant, PLLC, Washington, DC, for petitioner.
Jennifer Leigh Reynaud, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1

Dorsey, Chief Special Master:

      On August 20, 2018, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she received an influenza (“flu”) vaccine on
September 27, 2017, and subsequently suffered a shoulder injury related to vaccine
administration (“SIRVA”). Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.



1 The undersigned intends to post this ruling on the United States Court of Federal Claims' website. This

means the ruling will be available to anyone with access to the internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this
case, undersigned is required to post it on the United States Court of Federal Claims' website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management
and Promotion of Electronic Government Services).

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for

ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       On August 27, 2019, respondent filed his Rule 4(c) report in which he concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent that petitioner has satisfied the criteria set forth in the
Vaccine Injury Table for a SIRVA Id. at 4. Respondent further agrees that petitioner
has satisfied all legal prerequisites for compensation under the Vaccine Act. Id.

     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                   s/Nora Beth Dorsey
                                   Nora Beth Dorsey
                                   Chief Special Master




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